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                    UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

               v.                            Case No. 09-cr-88-01//03/05/07-SM

Juan Garcia Hernandez, Marco Garcia,
Ciro Lopez Garcia and Adolfo Casas,
      Defendants

                                    ORDER

      Defendant Tomas Cruz’s motion to continue the trial is granted

(document no. 116). Trial/Jury Selection has been rescheduled for April 6,

2010 at 9:30 a.m. Evidence will commence the following week on Monday,

April 12, 2010, at 9:00 a.m.    The objection was orally withdrawn by Attorney

Kennedy at the final pretrial conference held on February 9, 2010. It is

anticipated by the parties that two defendants (represented by Attorneys Gleason

and Kennedy) will proceed with trial as scheduled. All defendants, however, are

to be prepared to go forward with trial on the assigned date absent earlier

dispositions

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective
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preparation taking into account the exercise of due diligence under the

circumstances.

      SO ORDERED.                     ______________________
                                      Steven J. McAuliffe
                                      Chief Judge

February 9, 2010

cc:   Michael Iacopino, Esq.
      Donald A. Kennedy, Esq.
      Andrew M. Kennedy, Esq.
      James D. Gleason, Esq.
      James P. O’Rourke, Esq.
      Richard Monteith, Esq.
      Terry Ollila, AUSA
      U.S. Marshal
      U.S. Probation




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